                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA


 A.T., A MINOR STUDENT,                                     )
 BY AND THROUGH HER PARENTS                                 )
 AND NEXT FRIENDS, B.G. AND J.G., and B.G. and              )
 J.G. IN THEIR INDIVIDUAL CAPACITIES,                       )
                                                            )
        Plaintiffs,                                         )
                                                            )
 v.                                                         )    No. 1:22-CV-00110
                                                            )
 CLEVELAND CITY SCHOOLS BOARD OF                            )
 EDUCATION, et al.                                          )
                                                            )
        Defendants.                                         )



            NOTICE OF CHANGE OF FIRM AND ADDRESS FOR COUNSEL



        PLEASE TAKE NOTICE that the law firm name, address and related contact information

 for Jonathan Swann Taylor and Hilary L. Magacs, counsel for Defendants Cleveland City Schools

 Board of Education, Cleveland Middle School, Ms. Leneda Laing, Ms. Stephanie Pirkle, Ms.

 Lauren Lastoria, Ms. Terry Esquiance, Ms. Ashley Keith, and Matthew Ingram will change

 effective on July 1, 2024. The new contact information for Mr. Taylor and Ms. Magacs is as

 follows:

                                       Jonathan Swann Taylor
                                          Hilary L. Magacs
                                        Kramer Rayson, LLP
                                            P.O. Box 629
                                    Knoxville, TN 37901-0629
                                      Phone: (865) 525-5134
                                        Fax: (865) 522-5723
                                Emails: jstaylor@kramer-rayson.com
                                  hmagacs@kramer-rayson.com

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        All notices, pleadings, orders, filings, and correspondence directed to Mr. Taylor or Ms.

 Magacs regarding this action should be sent to the above-referenced address as of July 1, 2024.

 Accordingly, the undersigned will update this information on PACER effective July 1, 2024.


        RESPECTFULLY SUBMITTED this 27th day of June, 2024.

                                                        TAYLOR & KNIGHT, GP
                                                        /s/ Hilary L. Magacs
                                                        Jonathan Swann Taylor, BPR#025094
                                                        Hilary L. Magacs, BPR #036864
                                                        800 South Gay Street, Suite 600
                                                        Knoxville, TN 37929
                                                        Phone: 865-971-1701
                                                        Fax: 865-971-1705
                                                        hmagacs@taylorknightlaw.com




                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 27, 2024 a copy of the foregoing document was filed
 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
 to all parties indicated on the electronic filing receipt. All other parties will be served via regular
 U.S. Mail. Parties may access this filing through the Court’s electronic filing system.


                                        /s/Hilary L. Magacs
                                        Hilary L. Magacs




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